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                                                                                                 5/14/20




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :      15-CR-95 (AJN)
                                                                       :
JAFAR BORDEN,                                                          :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

ALISON J. NATHAN, United States District Judge:

        It is hereby ORDERED that the defendant in the above-captioned case, USM Number

77457-054, has been sentenced to a term of imprisonment of “Time Served”, and therefore is to

be released subject to any detainers.

        SO ORDERED.


Dated: May 14, 2020                                        __________________________________
       New York, New York                                           ALISON J. NATHAN
                                                                  United States District Judge
